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  7   Attorneys for Liquidating Trustee appointed under
  8   Confirmed Chapter 11 Liquidating Plan

  9
                                 UNITED STATES BANKRUPTCY COURT
 10
                                   CENTRAL DISTRICT OF CALIFORNIA
 11
                                               NORTHERN DIVISION
 12

 13
       In re                                          )     Case No. 9:16-bk-11912-DS
 14                                                   )
                                                      )     Chapter 11
 15    CHANNEL TECHNOLOGIES GROUP,                    )
       LLC,                                           )
 16
                                                      )     ORDER GRANTING LIQUIDATING
 17                                                   )     TRUSTEE’S FOURTH EX PARTE
                                 Debtor.              )     MOTION FOR ORDER EXTENDING
 18                                                   )     DEADLINE TO OBJECT TO CLAIMS
                                                      )
 19                                                   )
                                                      )     [No Hearing Required]
 20
                                                      )
 21                                                   )

 22

 23            The court having reviewed and considered the “Liquidating Trustee’s Fourth Ex Parte
 24   Motion for Order Extending Deadline to Object to Claims” (the “Motion,” Docket No. 786)
 25   filed by Corporate Recovery Associates, LLC, the Liquidating Trustee (the “Liquidating
 26   Trustee”) appointed under the confirmed Chapter 11 Liquidating Plan (Docket No. 426) of
 27   debtor Channel Technologies Group, LLC, and good cause appearing therefor,
 28
                                                      -1-
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  1            IT IS HEREBY ORDERED that the Motion is granted. The deadline to file objections
  2    to claims is extended from March 30, 2020 to March 29, 2021.
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      Date: February 19, 2020
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